            Case 2:22-cv-07429-PA-JEM Document 1 Filed 10/11/22 Page 1 of 23 Page ID #:1




     1                Courtney Green
            N1me:

     2      Address:
                         P•o. box 22444                                                           OCT t 12022
     3       Kansas city, Mo 64113


     4      Phone:

     5      Fax:

     6 ~    In Pro Per

     7

     8                                         UNITED STATES DISTRICT COURT

     9                                     CENTRAL DISTRICT OF CALIFORNIA
           Courtney Green
~ ~v3a°                                                          CU      A~~M~E~ / ~ ~ I ~
                                                                                           ~~
     11
                                                                        To be supplied by the Clerk of
                                                          Plaintiff
     12                                                                 The United States District Court
                                          v.
     13
           Vizio Inc. /i~Pf~'~P/~~ ~y'~~                'Zhl,.
     I4                                        ~o~v~/'c~~S


     15
                                                     t~etenaant(s). ~
     1
     T
        I the Defendant Courtney Green am suing the
     17
        defendant Vizio Inc. for Invasion of privacy
     18 through the viewing of ones person through the
        television.The collection and tracking of viewing
     19
        data and selling this information to private
     20 brokers and marketers directly violating the
        cybersecurity privacy act, electronic
     21
        communications privacy act and stored
     22 communications privacy act, also aiding in
                              nce platform for racketeering
     23 providing a surveilla
         and organized crime and the exploitation
     24 through the monitoring of ones person through

     25 the television.Knowingly aware of these actions
        for an extended period of time and neglecting to
     26
         address and or resolve the situation.
     27 From the end of 2019 until present and
         currently; I the defendant Courtney Green have
     28
         been under constant surveillance through the
                                                                          ,~~s
                                  -r~,,s l,~s b~e~, S-~~cd ~►~ m~~y Qcc~~S
             CV-126 (09/09)                           PLEADING PAGE FOR A COMPLAINT
       Case 2:22-cv-07429-PA-JEM Document 1 Filed 10/11/22 Page 2 of 23 Page ID #:2




     through blatant verbal expression,
1
     implementation into various show criteria etc.
2    Due to this, since the beginning of 2020 I the
3    defendant have endured unwarranted hardship
     through malice, public humiliation, the
4    assassination and defamation of ones Character,
5    cyber and in person stalking, the illegal gathering
     and disbursement of information and unfair
6    business practices. these outlined actions as well
7    as many others have resulted in a lasting stain on
      my public stature and directly negatively impacted
8
      mine personal life.These actions collectively have
9     had other impacts including affects on emotional
      and mental health as well my daily living. This
10
      issue is a direct violation my constitutional rights
11    and
12   is clearly shown that this has gone ignored and is
      seen as a joke
13   instead of a serious cyber threat. These factual
14   statements have been mentioned in several other
     cases with New York courts (ref. green v. Viacom
15
     CBS 22-274, Green v. NBC Universal Media
16   22-722, Green v. ABC Entertainment 22-898,
      Green v. Fox Corporation 22-899) as well as with
17
       Nebraska Courts Green v. Scripps
18    Corporation/Scripps center 822. During this time
      I have taken other measures one including
19
      personally reaching out to Vizio Inc. via
20    complaint portal and email as well as submitting
21    documentation to the Department of Consumer
                  ~~
      Affairs. ~~ '
22

23

24

25

26

27

28




       CV-126(09/09)                      PLEADING PACE FOR A COMPLAINT
 Case 2:22-cv-07429-PA-JEM Document 1 Filed 10/11/22 Page 3 of 23 Page ID #:3




                  Description of Claim/Statement of Case
                            Green v. Vizio Inc.



 I the appellant Courtney Green am suing the defendant Vizio Inc. for
invasion of privacy through the use of a Vizio brand electronic device. While
using this device to watch television programs it has been expressed on
several occasions that plaintiff Courtney Green could be seen and heard
through the television screen. The view-bng and monitoring of the plaintiff
Courtney Green through a television device has occurred consecutively over
the course of 3years and is currently still happening in present time. During
this time the television industry has used this media source to track,monitor
and exchange viewing data as well as control and manipulate viewing
capabilities.Through this electrical breach Vizio Inc. has aided and provided a
platform for racketeering, exploitation,malice and the public defamation and
assassination of the plaintiff Courtney Green's character.
 Case 2:22-cv-07429-PA-JEM Document 1 Filed 10/11/22 Page 4 of 23 Page ID #:4




                             Statement of Issue
                             Green v. Vizio Inc.



 The Defendant Vizio Inc. provided a platform/portal for Employees of the
entertainment and media industry to openly monitor, listen,survell and
attempt to converse with plaintiff Courtney Green through the use of the
television device. In doing so, assailants were able to obtain television
information such as model number,Upc and other codes to track and collect
viewing data and manipulate and control viewing capabilities as well as limit
viewing options. Through this electronic breach consecutively for 3 years
beginning in 2020 employees of the entertainment and media industry were
able to openly exploit,defamate and facilitate the exchange of information to
the masses for the purpose of malice towards the plaintiff therefore aiding in
the act of racketeering.
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    Case 2:22-cv-07429-PA-JEM Document 1 Filed 10/11/22 Page 5 of 23 Page ID #:5
 Case 2:22-cv-07429-PA-JEM Document 1 Filed 10/11/22 Page 6 of 23 Page ID #:6




                              Statement of Facts
                              Green v. Vizio Inc.


During October of 2019 I began noticing that while watching television
shows employees of different television networks seem to look as if they were
attempting to converse with me, the plaintiff Courtney Green through the
television. This notion began while tuning into the espn show "highly
questionable" when sports analyst Mina Kimes stated "You're going to pay for
this" along with mentions of ratings.Also during Fox morning news in early
2020, Tucker Carlson openly asked me if I felt helpless during a political
interview. Also around this time I tuned into talk shows where host would
state things like, he's under contract so everything's legal. Following this
while in between stable living I frequently visited a price chopper and Hyvee
off e 23rd street and another Hyvee off of noland rd in the Independence, MO
area on a daily and weekly basis. During this time I sat in the eating area of
these stores where there were 2 or more televisions mostly on the sports and
news channels.During the CBS morning show between the dates
05/08/2020-02/13/2021 and hours of Gam-gam anchors acknowledged that
they could physically view me while live on air in various ways such as
acknowledging reactions to conversations and morning stories as well as
making jokes and laughing at me being seen and my living situation, stating
that I was homeless. During this time there were news stories hinting around
things that I was doing for example business endeavors I was pursuing at the
time such as a jewelry piece I was attempting to create via online which led
 Case 2:22-cv-07429-PA-JEM Document 1 Filed 10/11/22 Page 7 of 23 Page ID #:7




me to believe my online browsing was being monitored as well. One morning
while viewing this happening I stated out loud "Who do I talk to about this?"
Anchors and host also conducted interviews and hosted
virtual guest appearances where host and guest would make direct and indirect
comments about my person while holding discussions; for example in one
instance with Tyler Perry where comments were made about me being a slave.
Also during this time on a daily basis I would also be in the sitting area during
KCtvS morning news where anchors would make jokes, acknowledge they
could see me and implement information about my person into daily news
stories and sketches. While entering a Hyvee one day in september of 2020 a
television was in front of the entrance and the Live with kelly and Ryan show
was on and upon seeing me enter the store both host and co-host Kelly ripa
and Ryan seacrest tauntingly waved as I walked by the tv monitor. Also
during this time frame while eating in The Hyvee stores as well as the Price
chopper, I would watch the games and while doing so I would in some form
or fashion be acknowledged by sports commentators, the crowd and at times
the players in various ways .During this time frame I was often referred to as
4. Between June of 2020 - february of 2021 I stayed in a variety of Airbnb's
and a few hotels where a Vizio brand Television was also present. During and
around the time of the summer Olympics 07/23/2020- 08/10/2020 host of this
event began hinting and speaking of a dress tie business endeavor I was
pursuing, which led to pauses/delays in communication and production with
suppliers aiding in unfair business practices. Also during the Olympics, there
 Case 2:22-cv-07429-PA-JEM Document 1 Filed 10/11/22 Page 8 of 23 Page ID #:8




were other mentions of me, the Plaintiff Courtney green with indirect
comments and conversations about my person. During an airing of the show
Tell the truth on the dates 07/18/2021 as I tuned in contestants and guest celeb
appearances observed me tuning in and stated that I was in the attic/upstairs,
referring to the room I had just checked into through Airbnb which also had a
Vizio Brand Television. While back home and tuning into an episode of
Supermarket Sweep airing live in Los Angeles, host Leslie Jones mentioned
that It had been 3 years referring to the viewing of my person through the
television and the exploitation that I was enduring; as she taunted and stated
that I was a loser. There were also mentions of the viewing of me through the
television during the 2021 American Music Awards and grammys.During the
dates of(02/19/2022-03/12/2022) news anchors and guest offox4 news
acknowledged they could see me and made joking comments about my person
and about stuff that was happening or that I was doing such as going to the
post office to mail legal proceeding documents and hinted at a movie "stating
see that's why I don't let my kids watch it." I also wrote a complaint to Fox
Corporation concerning this ongoing matter in March of 2022. Also during
this timeframe I would see mimics or duplication of meals that I had cooked
or mentions of certain ingredients used in the preparation process which
further raised suspicion that I was being surveil and continuously stalked and
that this surveillance was used to study me as if I was a test subject. While
flipping through the channels landing on HSN and QVC there would be
mentions of things I would do like where I placed my meals in the fridge etc.
 Case 2:22-cv-07429-PA-JEM Document 1 Filed 10/11/22 Page 9 of 23 Page ID #:9




On August 12, 2022 While viewing the Stephen Colbert Late night show there
was mentions of a contract amongst other things. Also during the months of
May 2022 through September 2022 on random days I would often be flipping
through channels after 2 broke girls and host of late night shows would notice
I flipped on their station and either switch to commercial, hint that I was
watching by making direct and indirect comments or make an uncomfortable
viewing experience to discourage me from watching etc. In December of 2021
I filed lawsuits against the following television networks Fox
Corporation,NBCUniversal Media LLC,ABC Entertainment Inc,Viacom
CBS as well as Scripps Corporation with mentions of these actions as well as
others; along with claims of Negligence in addressing this situation I also
submitted subpoenas to the courts for theses incidents. Following my initial
lawsuit filings Employees of the television industry began using this platform
to alert the masses of legal actions being taken against them, further
indicating that various forms of stalking were in fact occurring. I would watch
a television show or movie through an app such as Hulu, netflix,Peacock or
tubi and those actors would appear as guests on talk shows or on late night
shows which further indicated that my viewing data was being monitored an d
tracked. Once observing that I was catching on, I received an updated user
agreement when attempting to use netflix. This policy only allowed you to
agree to the new terms or you would be unable to continue viewing. In this
agreement it stated that Netflix would have control of your television as well
as your laptop. A few days went by and when a parent invited a friend over
Case 2:22-cv-07429-PA-JEM Document 1 Filed 10/11/22 Page 10 of 23 Page ID #:10




and unknowingly accepted this agreement I began seeing delays in when
attempting to watch as well as glitches where I would be watching a program
and everything would pause and I would have to re enter netflix completely. I
then found that I had been completely logged out of Hulu and
peacock.Following further unaddressed behavior I personally submitted
complaints to each television network beginning in march of 2022. During the
live airing of the 30th annual Bounce trumpet awards there were clear
indications of the viewing of my person through the television as well as
comments made further clarifying that there was some form of stalking or tabs
being kept about my person. Also during the 2022 Emmy awards there were
further acknowledgments that I was being viewed through the television as
well as clear indications that the viewing and monitoring of my person was
being exploited through the film industry and made out as a mockery. During
the Emmy's one actor while delivering a speech stated that I was not supposed
to be watching. At the time there was a NFL Football game on a different
channel that I was switching back and forth from. This is one of several
incidents showing how my viewing habits were being monitored to
orchestrate when and what to watch. Following this I the plaintiff Courtney
Green wrote complaints to television manufactures via letter, complaint portal
and via email. I also reached out to the department of consumer affairs.
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                                 Conclusion
                              Green v. Vizio Inc.



   In Conclusion the factual information outlined in the statement of facts
show a consistent timeline of events ranging from 2019 through the present
year of 2022. These events exhibit how over the course of tune this electronic
breach was used to study, cause intentional malice and purposely exploit the
plaintiff Courtney Green on numerous occasions. Collective occurrences
show that the viewing of my person was used as a tool not only to exploit but
manipulate outcomes and control. On numerous occasions while tuning into
various shows I was mockingly referred to as a guest appearance or made out
to be a star of some sort or a joke. This shows that this situation was not only
degrading but an assassination of ones character. There was no agreement nor
consent to this surveillance and while enduring this violation of my
constitutional rights to privacy I was thrown into a constant uncontrollable
world or mishaps and hardships that was viewed as a mockery instead of
taken as a serious security breach. On several occasions it was asked by
employees of the television industry if this could even be done, indicating
that the notion of wrongdoing was there and was clearly ignored. Instead of
addressing this issue it was attempted to be hidden, downplayed, covered up
and justified.



Respectfully,



Courtney Green
Untitled c.png Case        2:22-cv-07429-PA-JEM Document 1 Filed 10/11/22 Page 12 of 23   PageI.google.com/mai
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                                                                                                          C~~P~A~iv( ~~' CgS

            Courtney                                             Green



            green7126~gmail.com




          Viewer Services


          Hello I'm reaching out concerning an issue that I contacted CBS about back in March of
          2022 in which 1 never received an response. This issue was regarding invasion of privacy
          through the viewing of my person through the television while tuning into local network
          shows including employees of C8S conversing with and exhibiting bullying and verbally
          abusive misconduct as well as participating/encouraging the constant stalking of my person
          through virtual methods as well as literal. There have been two recent events within the last
          week;one with kcN5 news 08/11/2022 5pm evening news and another with on the late
          night show with Stephen Colbert 08/12/222.


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Ms. Green,                                   Cc~mplA;,~ ~d

Thank you for your inquiry to JAMS. As I wrote yesterday, to formally submit your matter for arbitration,
please register for our online case management portal LAMS Access. Here is a link with information about
JAMS Access, which will provide you with details on how to
register: https://www.iamsadr.com/JAMSAccess

After registering for JAMS Access, you may submit a Demandfor Arbitration using the following
link: https://access.iamsadr.com/arbitration-form/form. There are clear instructions provided on the
first page of the form.

Once you submit your Demandfor Arbitration, amember of the JAMS Demand team will contact the
parties to advise of next steps.

Best regards,

Karen



From: info@jamsadr.com <info@jamsadr.com>
Sent: Tuesday, March 1, 2022 9:46 AM
To: info <Info@JAMSADR.com>; Christine M. Smith <CSmith@jamsadr.com>; Douglas Duzant
<dduzant@jamsadr.com>; Shakiya Wright-McDuffie <swrightmcduffie@jamsadr.com>; Lauren Smith
<LSmith@jamsadr.com>; Karen Beutler <KBeutler@JAMSADR.com>; Jenny Truex
<jtruex@jamsadr.com>
Subject: Submit a Case

The following values were entered:


---------------------------------------------------------------------------------------------------
CASE INFORMATION
CASE CAPTION INFORMATION
IP Address of Submitting Party: 207.160.168.241, 130.176.67.73
Case Caption Plaintiff Vs Courtney Green
Case Caption Plaintiff ABC entertainment
Non-Binding/Mediative Processess orNon-Binding Arbitration
Binding/Adjudicative Processes or Financial Offer Arbitration
Or
Suit Filed Yes
Case Number 1:22-cv-00376-LTS
Trial Date
Mediation Deadline (if applicable)

---------------------------------------------------------------------------------------------------
SESSION INFORMATION
Case 2:22-cv-07429-PA-JEM Document 1 Filed 10/11/22 Page 14 of 23 Page ID #:14
                                                G~~~~ ~. ~~~z►'~~

Mediation                                                     A~~ ~G~~l     ~~~
Neutral Analysis
Referee or Special Master
Temporary Judge or Judge Pro Tem
Other
If other Session Information
Requested Resolution Center 1 New York, New York
Requested Resolution Center 2 St. Louis, Missouri
Requested Resolution Center 3 Los Angeles, California (Southern)
Virtual ADR
Case DescriptionI filed a defamation of Character suit with the New York Courts (1:22-cv-
00376-LTS). Employees of ABC Entertainment acknowledged on multiple occasions that they
could physically view me through the TV while live on air. The viewing of my person has been
happening since 2020. Not only have employees of ABC Entertainment acknowledged viewing
me but have at time exhibited bullying behavior, performed the act of outsourcing or the gather
of information on or about my person. This issue has also led to unwarranted exposure, imposed
a direct violation of personal privacy and constitutional rights as well as caused pain and
suffering. This situation has been on going and I feel ABC Entertainment has ignored, brushed to
the side or neglected to deal with this matter.
Requested Session Dates
Estimated Session Duration


NEUTRAL INFORMATION
Parties Mutually Agree on Neutral(s)? No
Neutral Name 1
Neutral Name 2
Neutral Name 3
Unknown Neutral

FREE SPLIT INFORMATION
Plaintiff/Claimant
Defendant/Respondent

SUBMISSION INFORMATION
Submitted by Courtney Green
Firm/Company
Telephone
Fax
Email ~~~~r~7~25n,~aiLc~r~

CLAIMANT INFORMATION
CLAIMANT INFORMATION 1
Name Courtney Green
Court File Number (if any) 1:22-cv-00376-LTS
Representative/Attorney
Case 2:22-cv-07429-PA-JEM Document 1 Filed 10/11/22 Page 15 of 23 Page ID #:15



Firm/Company
Website Address
Address
Country United States
State/Province Missouri
City Kansas city
Zip/Postal Code 64130
Telephone
Fax
Email

CLAIMANT INFORMATION 2
Name
Court File Number (if any)
Representative/Attorney
Firm/Company
Website Address ,
Address
Country
State/Province
City
Zip/Postal Code
Telephone
Fax
Email

RESPONDENT INFORMATION
RESPONDENT INFORMATION 1
Name ABC Entertainment
Court File Number (if any) 1:22-cv-00376-LTS
Representative/Attorney
Firm/Company ABC Entertainment
Website Address
Address
Country United States
State/Province New York
City
Zip/Postal Code
Telephone
Fax
Email

INSURANCE INFORMATION
INSURANCE INFORMATION 1
Carrier Name
File/Claim Number
Screenshot 2022-04-24 at 13-21-54 Reservation confirmed
              Case 2:22-cv-07429-PA-JEM                 for Kansa...1
                                                     Document           Filed 10/11/22 Page 16 of 23   Page ID #:16 m aiI/u/0/
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1 of 1                                                                                                                  10/6/2022, 1:36 PM
Case 2:22-cv-07429-PA-JEM Document 1 Filed 10/11/22 Page 17 of 23 Page ID #:17




Ms. Green,                                                                 ~'b~rl~~A,~         ~(,ii"' LGY~O~~o~?

Thank you for your inquiry to JAMS. To formally submit your matter for arbitration, please register for
our online case management portal IAMSAccess. Here is a link with information about JAMS Access,
w hich will provide you with details on how to register: https://www.jamsadr.com/JAMSAccess

After registering for JAMS Access, you may submit a Demandfor Arbitration using the following
link: https://access.jamsadr.com/arbitration-form/form. There are clear instructions provided on the
first page of the form.

Once you submit your Demandfor Arbitration, amember ofthe JAMS Demand team will contact the
parties to advise of next steps.

Best regards,

Karen



From: info@jamsadr.com <info@jamsadr.com>
Sent: Monday, February 28, 2022 10:07 AM
To: info <Info@JAMSADR.com>; Christine M. Smith <CSmith@jamsadr.com>; Douglas Duzant
<dduzant@jamsadr.com>; Shakiya Wright-McDuffie <swrightmcduffie@jamsadr.com>; Lauren Smith
<LSmith@jamsadr.com>; Karen Beutler <KBeutler@JAMSADR.com>; Jenny Truex
<jtruex@jamsadr.com>
Subject: Submit a Case

The following values were entered:


---------------------------------------------------------------------------------------------------
CASE INFORMATION
CASE CAPTION INFORMATION
IP Address of Submitting Party: 207.160.168.241, 130.176.67.139
Case Caption Plaintiff Vs Courtney Green
Case Caption Plaintiff Fox Corporation
Non-Binding/Mediative Processess or Neutral Evaluation
Binding/Adjudicative Processes or Arbitration
Or
Suit Filed Yes
Case Number 1:22-cv-00243-LTS
Trial Date
Mediation Deadline (if applicable)


SESSION INFORMATION
Mediation
Case 2:22-cv-07429-PA-JEM Document 1 Filed 10/11/22 Page 18 of 23 Page ID #:18

                                                             ~~~~~ V ~~ ~~~ Tc.
Neutral Analysis
Referee or Special Master
Temporary Judge or Judge Pro Tem
Other
If other Session Information
Requested Resolution Center 1 New York, New York
Requested Resolution Center 2 St. Louis, Missouri
Requested Resolution Center 3 Los Angeles, California (Southern)
Virtual ADR
Case Description Employees of the defendant(Fox Corporation) are accused of Defamation of
character, invasion of privacy, the outsourcing of information on or about my person leading to
unfair business practices, unwarranted ex poser after acknowledging that they could physically
view me through the television. These occurrence have been going on since 2020 and still
happening in present time. Employees of said defendant(Fox Corporation) asked for these
actions to stopped and/or for the viewing of my person to end and the Defendant Neglected to
resolve this issue. I am calling for immediate attention to this matter and a speedy resolution. I
have also filled a case with the New york courts regarding this matter, Case number 1:22-cv-
00243-LTS.
Requested Session Dates
Estimated Session Duration


NEUTRAL INFORMATION
Parties Mutually Agree on Neutral(s)? No
Neutral Name 1
Neutral Name 2
Neutral Name 3
Unknown Neutral

FREE SPLIT INFORMATION
Plaintiff/Claimant
Defendant/Respondent

SUBMISSION INFORMATION
Submitted by Courtney Green
Firm/Company
Telephone
Fax
Email ~reen7126(c~~gmail.com
---------------------------------------------------------------------------------------------------
CLAIMANT INFORMATION
CLAIMANT INFORMATION 1
Name Courtney Green
Court File Number (if any) 1:22-cv-00243-LTS
Representative/Attorney
Firm/Company
Case 2:22-cv-07429-PA-JEM Document 1 Filed 10/11/22 Page 19 of 23 Page ID #:19



Website Address
Address
Country United States
State/Province Missouri
City Kansas city
Zip/Postal Code 64130
Telephone
Fax
Email ~reen7i26(a~gmail.com

CLAIMANT INFORMATION 2
Name
Court File Number (if any)
Representative/Attorney
Firm/Company
Website Address ,
Address
Country
State/Province
City
Zip/Postal Code
Telephone
Fax
Email

RESPONDENT INFORMATION
RESPONDENT INFORMATION 1
Name
Court File Number (if any)
Representative/Attorney
Firm/Company
Website Address
Address
Country
State/Province
City
Zip/Postal Code
Telephone
Fax
Email

INSURANCE INFORMATION
INSURANCE INFORMATION 1
Carrier Name
File/Claim Number
Claim Representative
Case 2:22-cv-07429-PA-JEM Document 1 Filed 10/11/22 Page 20 of 23 Page ID #:20


                                       G ~~~~ V, l/'~ ~ ~~ 1~~c .
from: Courtney Green <green7126@gmail.com>                             ~,~~~A~~ -~          ~//3C
to:    privacy@nbcuni.com
date: Mar 1, 2022, 11:12 AM                                                                U~'Y~~~
subject:     ChiefPrivacy Officer                                                            ~~~'a
mailed-by:   gmail.com

Hello, I am reaching out regarding an issue that has been taking place sinceA 2020. During live
Airings of various programs such as nbc news, nbc sports, the today show, late night shows,
local news etc. employees of The nbc network have in one way or another acknowledged that
they could physically see me while live on air. Not only has this been totally an invasion of
personal privacy but this has also opened the door and led to the misuse ofthe media platform by
employees of the NBC network. These actions include but are not limited to the outsourcing of
information on or about my person, unwarranted exposure, unfair business practices, and at times
bullying behavior towards my person etc. Employees of the NBc network have also stated that
this conduct was going on and NBC neglected to act in a swift manner to even acknowledge,
resolve and put an end to the problem. I believe this issue should not go ignored nor be brushed
aside. This problem has not only been an awkward viewing experience for me when attempting
to watch and enjoy programs, it has also affected my personal life. I have filed a suit with the
New York courts regarding this matter case 1:22-cv-00239-LTS and look to get this resolved.
Case 2:22-cv-07429-PA-JEM Document 1 Filed 10/11/22 Page 21 of 23 Page ID #:21
 Complaint sent to Television Manufacturing Company
                                                      ~j~t~   il.   (/'~''~ ~/IC
                                                                    Cv~1 PIA►~ 5~       ~D


          Invasion of Privacy Concern                                              -~
                   09/ 3/2022                                                                ~,~~~~5




     Hello I write you this letter 09/13/2022 A day after the 2022 Emmy awards.
 I am contacting you regarding a matter that has been going on to my knowledge
 since 2020 and is now in the midcl]P of its third year. It has been stated on
 multiple occasions that this has been going on longer. The issue at hand is
 invasion of privacy through the viewing of the television.Ibelieve and have
 found this to be a huge concern and has aided in the stirring of major
 controversy.Iwrite to you because 1 or more of the televisions devices that this
 has occurred and currently occurring through has been of the Vizio brand.
      Since the 2020 post pandemic, there have been several occasions in whichI
 have had continuous encounters with people from the television world ranging
 from news stations, sports, comedy shows, live entertainment, talk shows etc.
 During many of these encounters it has been expressed in many ways that they
 could physically see me through the tv rather it be by verbally stating the
 obvious or by show of glimpsing at my eyes point of view or implementing this
 in show criteria. This situation in some instances has had a very negative impact
 on my day to day living, Furthermore this is a direct breach of company policy
 and law to constantly monitor and survey someone without consent.
     During this time I have reached out to network Corporate offices regarding
 this privacy breach as well as taken legal measures. While in the Entertainment
 industry this is seen as a joke, I take this matter very seriously and feel this is a
 direct violation of my constitutional rights.


     Respectfully,
     Courtney Green
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